 Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 1 of 19 PageID #:592




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION



In re Akorn, Inc. Data Integrity Securities   Civ. A. No. 1:18-cv-01713
Litigation
                                              Hon. Matthew F. Kennelly



      LEAD PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
    MOTION FOR LIMITED RELIEF FROM THE PSLRA DISCOVERY STAY
       Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 2 of 19 PageID #:592




                                                 TABLE OF CONTENTS
I.       INTRODUCTION .............................................................................................................. 1

II.      STATEMENT OF FACTS ................................................................................................. 4

III.     ARGUMENT ...................................................................................................................... 6

         A.        The Limited Request Is Consistent With The Purposes Of The PSLRA ............... 6

         B.        The Limited Discovery Sought Is Sufficiently Particularized And Causes
                   No Undue Burden To Defendants........................................................................... 8

         C.        Lead Plaintiffs Will Suffer Undue Prejudice Absent Limited Relief ................... 10

         D.        Limited Relief Is Necessary To Minimize Any Danger Of Loss Of
                   Evidence ................................................................................................................ 12

         E.        Limited Relief Will Promote Efficiency ............................................................... 13

IV.      CONCLUSION ................................................................................................................. 13




                                                                     i
     Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 3 of 19 PageID #:592




                                            TABLE OF AUTHORITES
Cases

In re Bank of Am. Corp. Sec., Derivative & ERISA Litig.,
       No. 09 MDL 2058(DC), 2009 WL 4796169 (S.D.N.Y. Nov. 16, 2009) .......................... 13

In re Delphi Corp. Sec., Derivative & “Erisa” Litig.,
       No. 05-MD-1725 (GER), 2007 WL 518626 (E.D. Mich. Feb. 15, 2007) ..................... 8, 9

In re Enron Corp. Sec., Derivative & “ERISA” Litig.,
       Nos. MDL-1446, Civ. A. H-01-3624,
       2002 WL 31845114 (S.D. Tex. Aug. 16, 2002) ........................................................... 9, 10

In re FirstEnergy Corp. Sec. Litig.,
        229 F.R.D. 541 (N.D. Ohio 2004) ............................................................................ 8, 9, 10

In re Labranche Sec. Litig.,
        333 F. Supp. 2d 178 (S.D.N.Y. 2004)........................................................................... 9, 11

In re Lernout & Hauspie Sec. Litig.,
        214 F. Supp. 2d 100 (D. Mass. 2002) ....................................................................... 3, 8, 12

In re Royal Ahold N.V. Sec. Litig.,
       220 F.R.D. 246 (D. Md. 2004).......................................................................................... 12

In re Smith Barney Transfer Agent Litig.,
       No. 05 Civ. 7583 (WHP), 2006 WL 1738078 (S.D.N.Y. June 26, 2006) .................. 10, 12

In re Williams Sec. Litig.,
       No. 02-cv-72H(M), 2003 WL 22013464 (N.D. Okla. May 22, 2003) ............................... 9

In re WorldCom, Inc. Sec. Litig.,
       234 F. Supp. 2d 301 (S.D.N.Y. 2002)........................................................................ passim

Mishkin v. Ageloff,
       220 B.R. 784 (S.D.N.Y. 1998)............................................................................................ 8

New York State Teachers' Ret. Sys. v. Gen. Motors Co.,
      2015 WL 1565462 (E.D. Mich. Apr. 8, 2015) .................................................................. 11

Pension Tr. Fund for Operating Eng'rs v. Assisted Living Concepts, Inc.,
       943 F. Supp. 2d 913 (E.D. Wis. 2013)....................................................................... passim

Singer v. Nicor, Inc.,
       No. 02-C-5168, 2003 WL 22013905 (N.D. Ill. Apr. 23, 2003) ........................................ 11

Vacold LLC v. Cerami,
       No. 00 Civ. 4024 (AGS), 2001 WL 167704 (S.D.N.Y. Feb. 16, 2001) ........................... 10

                                                               ii
     Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 4 of 19 PageID #:592




Statutes

15 U.S.C. § 77z-1(b)(1) ................................................................................................................ 12

15 U.S.C. § 78t(a) ........................................................................................................................... 4

15 U.S.C. § 78u-4(b)(3)(B) ....................................................................................................... 2, 12

15 U.S.C. §§ 78j(b) ......................................................................................................................... 4

17 C.F.R. § 240.10b-5 ..................................................................................................................... 4

Other Authorities

H.R. Conf. Rep. No. 104-369 (1995),
      reprinted in 1995 U.S.C.C.A.N. 730, 736 .......................................................................... 6




                                                                      iii
     Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 5 of 19 PageID #:592




       Court-appointed lead plaintiffs Gabelli & Co. Investment Advisors, Inc. and Gabelli Funds,

LLC (collectively, “Gabelli” or “Lead Plaintiffs”) respectfully submit this memorandum in support

of their motion for limited relief from the mandatory discovery stay currently in place in this

federal securities action (the “Action”) under the Private Securities Litigation Reform Act of 1995

(“PSLRA”).1

I.     INTRODUCTION

       Lead Plaintiffs seek relief from the PSLRA discovery stay for the limited purpose of

obtaining copies of: (i) documents already gathered, reviewed, and produced by Defendant Akorn,

Inc. (“Akorn” or the “Company”) to third-party Fresenius Kabi AG (“Fresenius”) in connection

with the related ongoing litigation (the “Delaware Discovery Materials”) in the Delaware Court of

Chancery (the “Delaware Litigation”); and (ii) unredacted copies of filings, exhibits, deposition

transcripts and trial transcripts in the Delaware Litigation (the “Delaware Trial Materials”).

       The Action arises from a pervasive fraud at the highest levels of Akorn involving the

Company’s systemic violations of U.S. Food and Drug Administration (“FDA”) data integrity

regulations and the efforts of its most senior executives to cover up those violations. A detailed

investigation conducted by Fresenius, Akorn’s former merger partner before Akorn’s fraud

derailed the deal, has already revealed that key Akorn executives directed Company employees to

submit fabricated clinical drug data to the FDA in order to secure approval of its drugs. Moreover,

outside consultants hired by Akorn during the Class Period pointedly warned Akorn that its

systemic data integrity violations were so serious that the Company could face criminal liability.

Yet, as Fresenius’ investigation has revealed, Akorn ignored its consultants’ advice, and



1
  As Mr. Entwistle advised the Court during the telephonic conference on June 7, 2018, Lead
Plaintiffs’ counsel provided drafts of these moving papers to counsel for defendants prior to
filing, who declined to consent to lifting the PSLRA discovery stay.
                                                 1
      Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 6 of 19 PageID #:592




affirmatively instructed employees to refrain from fixing the Company’s data integrity failures.

All the while, Akorn and certain of its senior executives (together, “Defendants”) made numerous

materially false and misleading public statements assuring investors that Akorn complied with

FDA regulations and touting the Company’s pipeline of new drug applications it had submitted to

the FDA. When the truth about Akorn’s systemic data integrity failures was finally revealed to

the market, the Company’s stock price plummeted, collapsing approximately 60% in just two

trading days.

         The rationale for the PSLRA discovery stay2 is “to minimize the incentives for plaintiffs

to file frivolous securities class actions in the hope either that corporate defendants will settle those

actions rather than bear the high cost of discovery . . . or that the plaintiff will find during discovery

some sustainable claim not alleged in the complaint.” In re WorldCom, Inc. Sec. Litig., 234 F.

Supp. 2d 301, 305 (S.D.N.Y. 2002) (citing House and Senate conference reports). This rationale

does not apply here.

         Instead, Lead Plaintiffs’ motion fits squarely with Congress’ express exception that

authorizes courts to permit limited discovery prior to ruling on a motion to dismiss when: (1)

“exceptional circumstances exist” such that allowing discovery would not violate the ethos of the

PSLRA discovery stay; and (2) “particularized discovery” is necessary to either (a) “preserve

evidence” or (b) “prevent undue prejudice” to a party. See 15 U.S.C. § 78u-4(b)(3)(B); see also




2
    The PSLRA provides:
         In any private action arising under this chapter, all discovery and other proceedings
         shall be stayed during the pendency of any motion to dismiss, unless the court finds
         upon the motion of any party that particularized discovery is necessary to preserve
         evidence or to prevent undue prejudice to that party.
15 U.S.C. § 78u-4(b)(3)(B).

                                                    2
   Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 7 of 19 PageID #:592




Pension Tr. Fund for Operating Eng’rs v. Assisted Living Concepts, Inc., 943 F. Supp. 2d 913

(E.D. Wis. 2013).

       As detailed more fully herein, the PSLRA stay should be modified where, as here:

             Exceptional circumstances exist in that lifting the stay will not burden Defendants.
              Akorn has already gathered, reviewed and produced all of the requested Delaware
              Discovery Materials to Fresenius. See, e.g., Pension Trust, 943 F. Supp. 2d at 913
              (“where the defendants have already gathered and the discovery materials sought .
              . . the Court finds that exceptional circumstances exist, moving this case outside the
              intended ambit of the PSLRA discovery stay.”);

             Unredacted copies of existing Delaware Trial Materials such as the unredacted
              complaint are readily available and unredacted versions of materials in the
              upcoming trial commencing on July 9, 2018 (the “Delaware Trial”) will be easily
              produced to Lead Plaintiffs;

             Any confidential information in the Delaware Discovery or Trial Materials is easily
              protected by Lead Plaintiffs’ agreement to a standard protective order;

             Lead Plaintiffs’ request is highly particularized in that it is limited solely to
              documents that have already been produced in the Delaware Litigation or has been
              or will be created or submitted in the Delaware Trial;

             Lifting the stay is necessary to prevent undue prejudice. Lead Plaintiffs and the
              class will suffer undue prejudice if they are denied access to relevant materials
              central to the common conduct and issues in both the instant case and the Delaware
              Litigation, as this will prejudice Lead Plaintiffs’ ability to make fully informed
              strategy decisions in the rapidly shifting landscape;

             Lifting the stay is necessary to preserve evidence. Depending on the outcome of
              the Delaware Litigation in which the Company seeks specific performance, Akorn
              is a party to a pending merger with Fresenius. Courts have recognized that the
              potential for loss of evidence is heightened during mergers. See, e.g., In re Lernout
              & Hauspie Sec. Litig., 214 F. Supp. 2d 100, 108 (D. Mass. 2002) (company’s
              reorganization “raises the added dangers of poorly maintained records and dispersal
              of key witnesses”). Such risk is particularly acute where, as here, the allegations in
              this action directly concern Akorn’s data integrity; and

             Lifting the stay will promote the efficient resolution of this action. This litigation
              will involve millions of documents (Akorn has already produced over 3 million
              documents to Fresenius), complicated privilege issues (the Delaware Chancery
              Court recently ruled that Akorn had partially waived privilege by having its outside
              litigation counsel, Cravath Swaine & Moore LLP (“Cravath”), conduct its internal
              investigation) and lengthy expert discovery. Partially lifting the stay will advance

                                                3
      Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 8 of 19 PageID #:592




               the discovery schedule in this case and allow Lead Plaintiffs to efficiently
               determine what, if any, additional discovery they will need after resolution of
               Defendants’ anticipated motion to dismiss the consolidated amended complaint
               Lead Plaintiffs will file on September 5, 2018.

        At bottom, Lead Plaintiffs easily satisfy each requirement for limited relief from the

PSLRA discovery stay.

II.     STATEMENT OF FACTS

        This Action alleges that Defendants violated Sections 10(b) and 20(a) of the Exchange Act

(15 U.S.C. §§ 78j(b), 78t(a)), and U.S. Securities and Exchange Commission Rule 10b-5

promulgated thereunder (17 C.F.R. § 240.10b-5). Specifically, during the period from March 1,

2017 through February 26, 2018, inclusive (the “Class Period”), Defendants repeatedly

misrepresented the Company’s compliance with FDA regulations and concealed from investors

the fact that the Company’s serious violations of those regulations jeopardized its business and its

ability to complete a sale of the Company to Fresenius that was announced early in the Class

Period. Akorn investors incurred significant losses following a series of disclosures about the

Company’s regulatory violations, which caused Fresenius to terminate its agreement to buy the

Company.

        In particular, throughout the Class Period, Akorn and its senior executives represented that

Akorn remained in compliance with the Food, Drug and Cosmetic Act (“FDCA”), and that the

Company anticipated continued growth based on the likelihood of obtaining approval of new drugs

in its pipeline, which was contingent upon this compliance.           These representations were

particularly important in light of the proposed acquisition of Akorn by Fresenius (the “Merger”),

a German drug maker that agreed to buy Akorn for $4.3 billion shortly after the beginning of the

Class Period. Indeed, in light of supply disruptions and increasing competition for a number of

Akorn’s key products, Akorn’s ability to obtain FDA approval and bring new drugs to market was


                                                 4
    Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 9 of 19 PageID #:592




critical to Akorn’s success and completion of the Merger. In truth, Akorn violated the laws its

senior executives represented were critical to its business, putting the Company’s prospects and

the Merger at tremendous risk.

       In this regard, on February 26, 2018, the Company and Fresenius disclosed that the Merger

was in jeopardy following allegations from an anonymous whistleblower that had identified

serious “data integrity” issues concerning the Company’s product-development interactions with

the FDA. Fresenius announced that the alleged FDA violations included “deficiencies and

misconduct” concerning Akorn’s drug development process. Following the announcement,

Akorn’s stock price fell $11.63 per share, or over 38%, declining from $30.28 to $18.65. Several

weeks after the end of the Class Period, on April 22, 2018, Fresenius disclosed that it was

terminating the merger after its outside experts found “material breaches” of FDA standards and

that Akorn’s representations that it complied with these laws “were not true.” In response to this

disclosure, Akorn shares fell another 30%, declining from a close of $19.70 on Friday, April 20,

2018 to a close of $13.05 on Monday, April 23, 2018.

       On April 23, 2018, Akorn commenced the Delaware Litigation against Fresenius to bar

Fresenius from walking away from the Merger or attempting to sabotage efforts to secure antitrust

clearance. The parties were to substantially complete all document production in the Delaware

Litigation by May 26, 2018 and trial is set to begin on July 9, 2018.

       On May 22, 2018, the Delaware Chancery Court granted in part Fresenius’ discovery

motion, finding that Akorn partially waived privileged with respect to an investigation concerning

the alleged fraud conducted by Cravath. At oral argument on that hearing, Akorn disclosed that it

had produced over 3 million documents to Fresenius as part of the Delaware Litigation. Fresenius

also conducted 50 interviews with 48 different Akorn employees.



                                                 5
   Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 10 of 19 PageID #:592




       On May 31, 2018, the Court appointed Gabelli & Co Investment Advisors, Inc. and Gabelli

Funds, LLC as Lead Plaintiffs in this Action and approved their selection of lead counsel and

liaison counsel. (ECF No. 37). While Lead Plaintiffs are closely monitoring the Delaware

Litigation, Lead Plaintiffs do not have access to the Delaware Discovery Materials or unredacted

versions of the Delaware Trial Materials that are central to the issues in the instant Action.

       Lead Plaintiffs have until September 5, 2018 to file an amended complaint. (ECF No. 36).

III.   ARGUMENT

       As explained below, all of the relevant factors favor granting Lead Plaintiffs’ limited

request for relief, as other courts have done under similar circumstances.

       A.      The Limited Request Is Consistent With The Purposes Of The
               PSLRA

       The PSLRA discovery stay seeks to prevent the filing of “strike suits” – frivolous suits

initiated in the hope that the high cost of discovery will coerce otherwise innocent defendants to

settle. See, e.g., H.R. Conf. Rep. No. 104-369, at 37 (1995), reprinted in 1995 U.S.C.C.A.N. 730,

736; WorldCom, 234 F. Supp. 2d at 306. Further, the stay seeks to prevent “fishing expeditions,”

where a plaintiff files a frivolous suit and seeks to use discovery to search for a viable claim not

alleged in the complaint. See, e.g., S. Rep. No. 104-98, at 14 (1995), reprinted in 1995

U.S.C.C.A.N. 679, 693; WorldCom, 234 F. Supp. 2d at 305. Lead Plaintiffs’ suit is not the type

of suit targeted by the PSLRA, and allowing the limited relief sought by Lead Plaintiff is consistent

with the statute’s goals. In addition to the publicly available facts and those uncovered thus far

through Lead Plaintiffs’ ongoing factual investigation, Lead Plaintiffs’ allegations are bolstered

by the Verified Counterclaim filed by Fresenius in the Delaware Litigation. Fresenius, based on

its review of millions of Akorn documents (the documents Lead Plaintiffs seek by this motion)

during due diligence as well as interviews with dozens of Akorn employees, has confirmed that

                                                  6
   Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 11 of 19 PageID #:592




Akorn suffers from serious data integrity issues and has misrepresented its compliance with the

FDCA. See Defendants’ Answer, Defenses and Verified Counterclaim, attached as Ex. A to the

Declaration of Andrew J. Entwistle In Support of Lead Plaintiffs’ Motion for Limited Relief From

the PSLRA Discovery Stay, at Preliminary Statement ¶¶ 1-23 & Verified Counterclaim ¶¶ 4-118.

       As Fresenius stated in its Answer, Defenses and Verified Counterclaim, “the record so far

reveals blatant fraud at the very top level of Akorn’s executive team, stunning evidence of blatant

and pervasive data integrity violations, [and] outrageous attempts by and on behalf of Akorn to

cover up those violations and misrepresentations[.]” Id. at Preliminary Statement ¶ 6. Among

other facts, as discussed above, Fresenius’ investigation revealed that senior Akorn executives

“knowingly directed the submission of fraudulent testing data to the FDA” as “part of a fraudulent

scheme that dated back to 2012.” Id. ¶ 7. Additionally, the investigation uncovered “a series of

blistering internal and external audit reports highlighting [Akorn’s] data integrity failures.” Id. ¶

8. For instance, the investigation revealed that Akorn executives had been warned by Cerulean

Associates LLC, an outside consultant, in early 2017 that the Company’s “numerous ‘critical’ data

integrity” failures, and “many other ‘seriously negligent’ and ‘deeply troubling’ practices,” could

subject it to criminal liability. Id. ¶ 8. Despite these warnings, Akorn executives affirmatively

instructed employees to refrain from improving the Company’s data integrity. Id. at Verified

Counterclaim ¶¶ 61-65. Likewise, the investigation showed that Akorn’s drug testing data “are

replete with alarming signs of systemic wrongdoing.” Id. at Preliminary Statement ¶ 9. The

investigations revealed, for example, that Akorn potentially rigged its drug testing by conducting

iterative “trial” tests, which are highly suspect “because they allow companies to ‘game’ the

process by running multiple tests, and submit[ting] only the passing results while discarding the

unofficial ‘trial’ results.” Id. An examination of just three Akorn sites revealed “tens of



                                                 7
   Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 12 of 19 PageID #:592




thousands” of such troubling tests. Id. In short, Lead Plaintiffs’ claims are well-founded, and this

case bears no resemblance to the “strike suits” at which the PSLRA’s discovery stay is aimed.

        Because Lead Plaintiffs seek only copies of materials that have already been disclosed to

Fresenius or are readily available trial transcripts and filings, maintaining the absolute stay as to

these documents serves no legitimate PSLRA purpose.                Courts recognize that “where the

defendants have already gathered and the discovery materials sought . . . the Court finds that

exceptional circumstances exist, moving this case outside the intended ambit of the PSLRA

discovery stay.” Pension Trust, 943 F. Supp. 2d at 915; In re FirstEnergy Corp. Sec. Litig., 229

F.R.D. 541, 545 (N.D. Ohio 2004) (“maintaining the discovery stay as to materials already

provided to government entities does not further the policies behind the PSLRA.”); see also In re

Delphi Corp. Sec., Derivative & “Erisa” Litig., No. 05-MD-1725 (GER), 2007 WL 518626, at

*8 (E.D. Mich. Feb. 15, 2007) (“[M]aintaining the discovery stay as to materials already provided

to the federal authorities and to the Unsecured Creditors Committee does not further the policies

behind the PSLRA.”).

        On the other hand, granting the limited relief requested serves the legitimate purpose of

promoting efficiencies in this action.

        B.      The Limited Discovery Sought Is Sufficiently Particularized And
                Causes No Undue Burden To Defendants

        To satisfy the PSLRA’s particularity requirement in connection with modifying the stay,

“the party seeking discovery under the exception must adequately specify the target of the

requested discovery and the types of information needed.” Lernout, 214 F. Supp. 2d at 108 (citing

Mishkin v. Ageloff, 220 B.R. 784, 792-95 (S.D.N.Y. 1998)). Courts routinely hold that a request

to lift the stay is sufficiently particularized where it is limited to a closed universe of materials that

either has been produced, or will be produced, to government investigators and/or to other parties


                                                    8
   Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 13 of 19 PageID #:592




in related matters. See, e.g., Pension Trust, 943 F. Supp. 2d at 915 (finding plaintiffs’ request is

particularized when “it is limited solely to relevant materials that have already been produced in

other proceedings.”); WorldCom, 234 F. Supp. 2d at 306 (lifting stay as to materials produced to

public agencies in related proceedings); FirstEnergy, 229 F.R.D. 542 (lifting stay as to documents

produced to governmental entities); In re Enron Corp. Sec., Derivative & “ERISA” Litig., Nos.

MDL-1446, Civ. A. H-01-3624, 2002 WL 31845114 (S.D. Tex. Aug. 16, 2002) (lifting stay as to

materials already made available to numerous governmental entities and others); In re Williams

Sec. Litig., No. 02-cv-72H(M), 2003 WL 22013464, at *3 (N.D. Okla. May 22, 2003) (same);

Delphi, 2007 WL 518626, at *4-5 (lifting stay as to materials produced during the course of

investigations).

        In Pension Trust, for example, where plaintiffs sought access to documents produced in

the course of government investigations and other related proceedings, the court found that

plaintiffs’ claims were sufficiently particularized. 943 F.Supp.2d at 915. Judge Stadtmueller

found that documents produced in other litigations are a “relatively-limited amount of materials”

that are “subject to readily definable constraints.” Id.

        Here, as in Pension Trust, Lead Plaintiffs only seek access to a specific and circumscribed

universe – materials that have been produced in a parallel proceeding. As explained in WorldCom,

FirstEnergy, Delphi, and other cases, Lead Plaintiffs’ request for access to these limited materials

is sufficiently particularized.

        Moreover, in “deciding whether or not to lift the PSLRA’s discovery stay, ‘it is customary

to consider whether a production request places an undue burden on the party from which it is

requested.’” In re Labranche Sec. Litig., 333 F. Supp. 2d 178, 183 (S.D.N.Y. 2004) (quoting

WorldCom, 234 F. Supp. 2d at 306). When the defendant will not be burdened by the requested



                                                 9
   Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 14 of 19 PageID #:592




discovery, “defendants in such circumstances may be much less likely to feel the pressure to

engage in a settlement of meritless claims.” Pension Trust, 943 F.Supp.2d at 915. As noted above,

and as various courts have explained, granting securities plaintiffs access to materials already

collected and produced to other parties imposes virtually no additional burden on any producing

parties. See, e.g., WorldCom. 234 F. Supp. 2d at 306 (no burden where materials already gathered

and produced); FirstEnergy, 229 F.R.D. at 545 (same); Enron, 2002 WL 31845114, at *2 (same).

As the Enron court summarized: “In a sense this discovery has already been made, and it is merely

a question of keeping it from a party because of the strictures of a statute designed to prevent

discovery abuse.” 2002 WL 31845114, at *2; see also FirstEnergy, 229 F.R.D. at 545; WorldCom,

234 F. Supp. 2d at 306. Accordingly, allowing Lead Plaintiffs to have access to materials already

gathered and produced in the Delaware Litigation imposes virtually no additional burden on

Defendants, and this factor weighs in favor of granting Lead Plaintiffs’ requested relief.

       C.      Lead Plaintiffs Will Suffer Undue Prejudice Absent Limited Relief

       Courts may lift the mandatory PSLRA discovery stay if doing so is necessary to “prevent

undue prejudice to plaintiffs.” In re Smith Barney Transfer Agent Litig., No. 05 Civ. 7583 (WHP),

2006 WL 1738078, at *1 (S.D.N.Y. June 26, 2006). “Undue prejudice in the context of a discovery

stay means improper or unfair treatment amounting to something less than irreparable harm.”

Smith Barney, 2006 WL 1738078, at *2 (quoting Vacold LLC v. Cerami, No. 00 Civ. 4024 (AGS),

2001 WL 167704, at *6 (S.D.N.Y. Feb. 16, 2001)) (internal quotation marks omitted). As noted

in Pension Trust, courts have found undue prejudice is present where the defendants are “in the

midst of reorganizing, merging or being acquired; where the defendants have submitted

documentation in federal investigations; or where the defendants faced separate lawsuits.” 943 F.

Supp. 2d at 916 (internal citations omitted). All three situations are present here.


                                                 10
   Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 15 of 19 PageID #:592




        Courts have repeatedly found that securities plaintiffs would suffer undue prejudice if they

were denied access to materials provided to government investigators and other litigants, as the

informational disadvantage would prejudice their ability to make strategy decisions in a rapidly

shifting landscape. Pension Trust, 943 F. Supp. 2d at 916 (collecting cases where courts have

found undue prejudice because securities plaintiffs are at an “informational disadvantage” when

documents are produced to plaintiffs asserting different claims or government investigators); see

also, New York State Teachers' Ret. Sys. v. Gen. Motors Co., 2015 WL 1565462, at *3 (E.D. Mich.

Apr. 8, 2015); Singer v. Nicor, Inc., No. 02-C-5168, 2003 WL 22013905, at *2 (N.D. Ill. Apr. 23,

2003) (“Plaintiffs here may well be unfairly disadvantaged if they do not have access to the

documents that the governmental and other agencies already have, during the pendency of the

motion to dismiss”).

        The court in LaBranche explained the prejudice facing securities plaintiffs under these

circumstances:

           Lead Plaintiffs must now determine their litigation strategy, principally whether or not
           to seek an early settlement to benefit the class without further expense. The requested
           discovery is essential to determine that strategy and to assist in formulating an
           appropriate settlement demand. The Lead Plaintiffs will suffer undue prejudice in
           having to defer such decisions. 333 F. Supp. 2d at 184.

        This threatened prejudice is even greater here because Akorn is in the midst of potentially

being acquired. If a “[securities lead plaintiff] must wait until the resolution of a motion to dismiss

to obtain discovery and formulate its settlement or litigation strategy, it faces the very real risk that

it will be left to pursue its action against defendants who no longer have anything or at least as

much to offer.” WorldCom, 234 F. Supp. 2d at 306.




                                                   11
   Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 16 of 19 PageID #:592




        In sum, partial relief from the PSLRA’s stay of discovery will protect Lead Plaintiffs and

the putative class it represents from undue prejudice. With access to the same materials already

provided to other interested parties, Lead Plaintiffs will be able to plan its litigation strategy.

        D.      Limited Relief Is Necessary To Minimize Any Danger Of Loss Of
                Evidence

        In addition to preventing undue prejudice, the PSLRA also authorizes a court to lift the

discovery stay to “preserve evidence.” 15 U.S.C. §§ 77z-1(b)(1) & 78u-4(b)(3)(B); Smith Barney,

2006 WL 1738078, at *1.

        As courts have recognized, the potential for loss of relevant evidence is heightened during

acquisitions and mergers, such as the pending acquisition of Akorn by Fresenius. Noting the

inherent dangers of loss of evidence in reorganizations, courts have lifted the discovery stay under

circumstances similar to those here. See, e.g., Lernout, 214 F. Supp. 2d at 108 (company’s

reorganization “raises the added dangers of poorly maintained records and dispersal of key

witnesses”). Moreover, the issues in the case directly concern Akorn’s past failures of data

integrity.

        While the risk of loss is reduced as to documents already produced, granting Lead

Plaintiffs’ request would minimize any concern in light of the nature of Akorn’s planned Merger.

This Merger, coupled with the likely departure of key Akorn executives relevant to this case,

creates a reasonable concern that evidence may be lost, despite best efforts to preserve them. See

In re Royal Ahold N.V. Sec. Litig., 220 F.R.D. 246, 251 (D. Md. 2004). Faced with Akorn’s shifting

corporate landscape and concerns about evidentiary loss that are by no means speculative, Lead

Plaintiffs should not be required to rely “on the assurances of counsel that relevant evidence will

be preserved.” Id. The early production of core documents is the preferred method to ensure that

such materials are available for the prosecution of the action. See Lernout, 214 F. Supp. 2d at 109.

                                                  12
   Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 17 of 19 PageID #:592




Moreover, lifting the stay will allow the case to more quickly proceed to deposition discovery and

a better chance that key witnesses are still employed by Akorn. Simply put, no statutory provision

or preservation order can preserve documents after they have been destroyed or lost. Accordingly,

in addition to preventing prejudice to Lead Plaintiffs, partial relief from the PSLRA stay would

ensure that evidence is preserved and is consistent with the statute’s goals.

       E.      Limited Relief Will Promote Efficiency

       Lifting the discovery stay will promote efficiency and case management, and meaningfully

advance this case toward resolution. Courts recognize that such case management considerations

should be included when determining whether to modify the stay. See, e.g., In re Bank of Am.

Corp. Sec., Derivative & ERISA Litig., No. 09 MDL 2058(DC), 2009 WL 4796169, at *2

(S.D.N.Y. Nov. 16, 2009) (courts may consider factors such as case management); Royal Ahold,

220 F.R.D. at 252 n.15 (lifting stay where, among other factors, defendants and other litigants in

other proceedings were engaging in discovery). Akorn has already produced over 3 million

documents to Fresenius in the Delaware Litigation. Lead Plaintiffs anticipate its consolidated and

amended complaint will incorporate many of the briefing and materials revealed during the

Delaware Litigation.

IV.    CONCLUSION

       For the reasons stated above, partially lifting the PSLRA’s discovery stay is necessary to

prevent undue prejudice to Lead Plaintiffs and the prospective class. Further, such relief would

promote efficiency in this litigation and ensure that relevant evidence is preserved during the

potential Merger. Given that Lead Plaintiffs only seek materials already gathered, reviewed and

produced in the Delaware Litigation, the requested relief imposes no undue burden on Defendants.




                                                 13
   Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 18 of 19 PageID #:592




Finally, granting limited relief from the stay is consistent with the mandate and purposes behind

the PSLRA.

 DATED: June 14, 2018                               Respectfully Submitted,

                                                    /s/ Andrew J. Entwistle
 Avi Josefson                                       Andrew J. Entwistle
 BERNSTEIN LITOWITZ BERGER                          Vincent R. Cappucci (admitted pro hac
   & GROSSMANN LLP                                  vice)
 875 North Michigan Avenue                          Arthur V. Nealon (admitted pro hac vice)
 Suite 3100                                         Robert N. Cappucci (admitted pro hac vice)
 Chicago, Illinois 60611                            ENTWISTLE & CAPPUCCI LLP
 Telephone: (312) 373-3880                          299 Park Avenue, 20th Floor
 Facsimile: (312) 794-7801                          New York, New York 10017
 avi@blbglaw.com                                    Telephone: (212) 894-7200
                                                    Facsimile: (212) 894-7272
 -and-                                              aentwistle@entwistle-law.com
                                                    vcappucci@entwistle-law.com
 John Rizio-Hamilton (admitted pro hac vice)        anealon@entwistle-law.com
 Abe Alexander (admitted pro hac vice)              rcappucci@entwistle-law.com
 BERNSTEIN LITOWITZ BERGER
   & GROSSMANN LLP                                  Lead Counsel for the Class
 1251 Avenue of the Americas
 New York, New York 10020
 Telephone: (212) 554-1400
 Facsimile: (212) 554-1444
 johnr@blbglaw.com
 abe.alexander@blbglaw.com

 Liaison Counsel for the Class




                                               14
   Case: 1:18-cv-01713 Document #: 45 Filed: 06/14/18 Page 19 of 19 PageID #:592




                CERTIFICATE OF SERVICE BY ELECTRONIC MEANS

       I, Andrew J. Entwistle, one of the attorneys for Lead Plaintiffs, hereby certify that on June

14, 2018, service of the foregoing Lead Plaintiffs’ Memorandum of Law in Support of Motion for

Limited Relief From the PSLRA Discovery Stay was accomplished pursuant to ECF as to Filing

Users and I shall comply with LR 5.5 as to any party who is not a Filing User or represented by a

Filing User.



                                       /s/ Andrew J. Entwistle
                                         Andrew J. Entwistle




                                                15
